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6    DEKALB OB/GYN AFFILIATES L.L.C. and
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7

8

9                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11

12 BALBOA CAPITAL CORPORATION, ) Case No.: 8:19-cv-00482-AG-KES
     a California Corporation               )
13                                          )
                   Plaintiff,               )
14                                          )
            vs.                             ) ANSWER TO COMPLAINT AND
15                                          ) COUNTERCLAIMS BY
     DEKALB OB/GYN AFFILIATES               ) DEFENDANTS DEKALB OB/GYN
16   L.L.C., a Georgia limited liability    ) AFFILIATES L.L.C. AND
     company; SHIRLEY RIGAUD-               ) SHIRLEY RIGAUD-ECHOLS
17   ECHOLS, and individual, and DOES 1- )
     10, inclusive,                         )
18                                          )
                   Defendants.              ) DEMAND FOR JURY TRIAL
19                                          )
                                            )
20   DEKALB OB/GYN AFFILIATES               )
     L.L.C., a Georgia limited liability    )
21   company; SHIRLEY RIGAUD-               )
     ECHOLS, an individual                  )
22                                          )
                   Counterclaimants         )
23                                          )
           vs.                              )
24                                          )
     BALBOA CAPITAL CORPORATION, )
25   a California Corporation; CYNOSURE, )
     INC., a Massachusetts Corporation, and )
26   ROES 1-10, inclusive.                  )
                                            )
27                 Counterdefendants        )
                                            )
28                                          )
                                              1
       ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
             AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1
           Defendants DEKALB OB/GYN AFFILIATES L.L.C. and SHIRLEY
2
     RIGAUD-ECHOLS (hereinafter “DEKALB,” “RIGAUD-ECHOLS,” or
3
     collectively, “Defendants”), responding to the Complaint (hereinafter
4
     “Complaint”) of Plaintiff BALBOA CAPITAL CORPORATION (hereinafter
5
     “BALBOA” or “Plaintiff”), here, state and allege as follows:
6
           1.     Answering Paragraph 1 of Plaintiff’s Complaint, Defendants, and
7
     each of them, are without sufficient knowledge or information to form a belief as
8
     to the truth of the allegations of that paragraph and, on that basis, deny each and
9
     every one of those allegations.
10
           2.     Answering Paragraph 2 of Plaintiff’s Complaint, Defendants, and
11
     each of them, admit all of the allegations contained therein.
12
           3.     Answering Paragraph 3 of Plaintiff’s Complaint, Defendants, and
13
     each of them, admit the allegations contained as to Defendant RIGAUD-
14
     ECHOLS’s residence, but deny that she is a personal guarantor.
15
            4.    Answering Paragraph 4 of Plaintiff’s Complaint, Defendants, and
16
     each of them, admit the allegations contained as to Defendant RIGAUD-
17
     ECHOLS’s status vis-à-vis DEKALB OB/GYN, but deny that she is a personal
18
     guarantor.
19
           5.     Answering Paragraph 5 of Plaintiff’s Complaint, Defendants, and
20
     each of them, are without sufficient knowledge or information to form a belief as
21
     to the truth of the allegations of that paragraph and, on that basis, deny each and
22
     every one of those allegations.
23
           6.     Answering Paragraph 6 of Plaintiff’s Complaint, Defendants, and
24
     each of them, are without sufficient knowledge or information to form a belief as
25
     to the truth of the allegations of that paragraph and, on that basis, deny each and
26
     every one of those allegations.
27
           7.     Answering Paragraph 7 of Plaintiff’s Complaint, Defendants, and
28
                                                2
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
            AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1    each of them, are without sufficient knowledge or information to form a belief as
2    to the truth of the allegations of that paragraph and, on that basis, deny each and
3    every one of those allegations.
4          8.     Answering Paragraph 8 of Plaintiff’s Complaint, Defendants, and
5    each of them, are without sufficient knowledge or information to form a belief as
6    to the truth of the allegations of that paragraph and, on that basis, deny each and
7    every one of those allegations.
8          9.     Answering Paragraph 9 of Plaintiff’s Complaint, Defendants, and
9    each of them, admit that the document referenced speaks for itself.
10                     ANSWER TO FIRST CAUSE OF ACTION
11       (Breach of Equipment Financing Agreement Against Defendant DEKALB
12                                          OB/GYN)
13         10.    Answering Paragraph 10 of Plaintiff’s Complaint, Defendants, and
14   each of them, reincorporate their responses to paragraphs 1-9.
15         11.    Answering Paragraph 11 of Plaintiff’s Complaint, Defendants, and
16   each of them, admit receipt of a document, the terms of which speaks for itself.
17         12.    Answering Paragraph 12 of Plaintiff’s Complaint, Defendants, and
18   each of them, deny that payments continued to be due and owing to the Plaintiff
19   due to, among other things, frustration of purpose and misrepresentations
20   surrounding the collateral referenced, as well as the repossession of the collateral.
21         13.    Answering Paragraph 13 of Plaintiff’s Complaint, Defendants, and
22   each of them, deny each and every allegation contained in that paragraph.
23         14.    Answering Paragraph 14 of Plaintiff’s Complaint, Defendants, and
24   each of them, deny each and every allegation contained in that paragraph.
25         15.    Answering Paragraph 15 of Plaintiff’s Complaint, Defendants, and
26   each of them, deny each and every allegation contained in that paragraph.
27         16.    Answering Paragraph 16 of Plaintiff’s Complaint, Defendants, and
28   each of them, deny each and every allegation contained in that paragraph.
                                                3
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
            AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1          17.    Answering Paragraph 17 of Plaintiff’s Complaint, Defendants, and
2    each of them, deny each and every allegation contained in that paragraph.
3          18.    Answering Paragraph 18 of Plaintiff’s Complaint, Defendants, and
4    each of them, deny each and every allegation contained in that paragraph.
5          19.    Answering Paragraph 19 of Plaintiff’s Complaint, Defendants, and
6    each of them, deny each and every allegation contained in that paragraph.
7                     ANSWER TO SECOND CAUSE OF ACTION
8          (Recovery of Possession of Personal Property Against All Defendants)
9          20.    Answering Paragraph 20 of Plaintiff’s Complaint, Defendants, and
10   each of them, reincorporate their responses to paragraphs 1-19.
11         21.    Answering Paragraph 21 of Plaintiff’s Complaint, Defendants, and
12   each of them, deny default, and further contend that Defendants sought to return
13   the Collateral almost immediately upon receipt due to, among other things,
14   frustration of purpose and misrepresentation, but that Plaintiff, by and through its
15   agent, Great Lakes Asset Solutions, did not retrieve the unused Collateral until
16   February 26, 2019.
17         22.    Answering Paragraph 22 of Plaintiff’s Complaint, Defendants, and
18   each of them, deny default, and further contend that Defendants sought to return
19   the Collateral almost immediately upon receipt due to, among other things,
20   frustration of purpose and misrepresentation, but that Plaintiff, by and through its
21   agent, Great Lakes Asset Solutions, did not retrieve the unused Collateral until
22   February 26, 2019.
23         23.    Answering Paragraph 23 of Plaintiff’s Complaint, Defendants, and
24   each of them, deny default, and further contend that Defendants sought to return
25   the Collateral almost immediately upon receipt due to, among other things,
26   frustration of purpose and misrepresentation, but that Plaintiff, by and through its
27   agent, Great Lakes Asset Solutions, did not retrieve the unused Collateral until
28   February 26, 2019.
                                               4
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
            AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1                     ANSWER TO THIRD CAUSE OF ACTION
2                 (Breach of Guaranty Against Defendant GUARANTOR)
3          24.   Answering Paragraph 24 of Plaintiff’s Complaint, Defendants, and
4    each of them, reincorporate their responses to paragraphs 1-23.
5          25.   Answering Paragraph 25 of Plaintiff’s Complaint, Defendants, and
6    each of them, deny each and every allegation contained in that paragraph.
7          26.   Answering Paragraph 26 of Plaintiff’s Complaint, Defendants, and
8    each of them, deny each and every allegation contained in that paragraph.
9          27.   Answering Paragraph 27 of Plaintiff’s Complaint, Defendants, and
10   each of them, deny each and every allegation contained in that paragraph.
11         28.   Answering Paragraph 28 of Plaintiff’s Complaint, Defendants, and
12   each of them, deny each and every allegation contained in that paragraph.
13                      ANSWER TO FOURTH CAUSE OF ACTION
14                            (Indebtedness Against All Defendants)
15         29.   Answering Paragraph 29 of Plaintiff’s Complaint, Defendants, and
16   each of them, reincorporate their responses to paragraphs 1-28.
17         30.   Answering Paragraph 30 of Plaintiff’s Complaint, Defendants, and
18   each of them, deny each and every allegation contained in that paragraph.
19                                 GENERAL DENIAL
20         Unless specifically admitted, denied, modified or otherwise controverted
21   herein, Defendants, and each of them, deny each and every allegation of Plaintiff’s
22   Complaint, including but not limited to any unnumbered paragraphs and headings.
23                             AFFIRMATIVE DEFENSES
24                         FIRST AFFIRMATIVE DEFENSE
25                               (Failure to State a Claim)
26         1.    Plaintiff’s Complaint fails to state a claim upon which relief can be
27   granted and should be dismissed.
28   ///
                                              5
       ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
             AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1                          SECOND AFFIRMATIVE DEFENSE
2                                           (Waiver)
3          2.     Plaintiff’s Complaint, and each and every claim alleged therein, is
4    barred by the doctrine of waiver .
5                           THIRD AFFIRMATIVE DEFENSE
6                                          (Estoppel)
7          3.     Plaintiffs’ Complaint, and each and every claim asserted therein, is
8    barred by the doctrine of estoppel.
9                          FOURTH AFFIRMATIVE DEFENSE
10                                           (Setoff)
11         4.     Plaintiffs’ Complaint, and each and every claim asserted therein, to
12   the extent it claims damages arising from the finance loan of the subject Collateral,
13   is setoff by the repossession of the unused Collateral by and through its agent,
14   Great Lakes Asset Solutions, on February 26, 2019.
15                           FIFTH AFFIRMATIVE DEFENSE
16                                    (Failure to Mitigate)
17         5.     Although Defendants deny they are liable to Plaintiff for any reason
18   and deny that Plaintiff suffered any damages whatsoever, they allege, alternatively,
19   that if Plaintiff suffered any damages as a result of any act and/or omission of
20   Defendants, such damages could and should have been mitigated by reasonable
21   efforts on the part of Plaintiff. Due to Plaintiff’s failure to take reasonable steps to
22   prosecute and/or defend its interests, including immediately collecting and
23   liquidating the subject collateral in order to eliminate or reduce any alleged
24   indebtedness, its damages have been exacerbated wholly due to its own fault and
25   that of its agents, employees and attorneys, and therefore it is barred from
26   obtaining recovery from Defendants for any such damages.
27   ///
28   ///
                                                6
       ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
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1                           SIXTH AFFIRMATIVE DEFENSE
2                                    (Misrepresentations)
3          6.     Plaintiff’s alleged damages arise from a relationship formed by a
4    party; to wit, CYNOSURE, INC., who made misrepresentations or material
5    omissions to Defendants to induce them into purchasing the subject collateral and
6    referred them to Plaintiff to finance the transaction.
7                         SEVENTH AFFIRMATIVE DEFENSE
8                   (Excuse from Performance/Frustration of Purpose)
9          7.     Plaintiff’s alleged damages arise from a relationship formed by a
10   party; to wit, CYNOSURE, INC., an agent for Plaintiff, who told Defendants that
11   the procedures to be performed by using the subject collateral (i.e. elective vaginal
12   rejuvenation) would be approved by the FDA. The FDA, however, specifically did
13   not approve the use of the subject collateral in the manner for which it was
14   intended when purchased, and thereafter specifically named CYNOSURE’s
15   product (the subject collateral) in its statement warning against use of the subject
16   collateral for those purposes, thereby frustrating the very purpose of the financing
17   agreement since the subject collateral was unsafe for use.
18                                 PRAYER FOR RELIEF
19         WHEREFORE, Defendants DEKALB OB/GYN AFFILIATES L.L.C. and
20   SHIRLEY RIGAUD-ECHOLS request the following:
21         1.     That Plaintiff BALBOA CAPITAL CORPORATION take nothing by
22   reason of its Complaint and that judgment be rendered in Defendants’ favor;
23         2.     That Defendants DEKALB and RIGAUD-ECHOLS be awarded their
24   attorneys’ fees and costs to the extent permitted by contract;
25         3.     That Defendants be awarded such other and further relief as it may
26   deem just and appropriate.
27   ///
28   ///
                                                7
       ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
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1                                   COUNTERCLAIMS
2          For their Counterclaims against Counterdefendants BALBOA CAPITAL
3    CORPORATION (“BALBOA”) and CYNOSURE, INC. (“CYNOSURE”),
4    Counterclaimants DEKALB OB/GYN AFFILLIATES L.L.C. (“DEKALB”) and
5    SHIRLEY RIGAUD-ECHOLS (“RIGAUD-ECHOLS”) state and allege the
6    following:
7                                     THE PARTIES
8          1.     DEKALB OB/GYN AFFILLIATES L.L.C. is a Georgia limited
9    liability company. Its sole member is SHIRLEY RIGAUD-ECHOLS, a Georgia
10   citizen doing business in DeKalb County, Georgia.
11         2.     On information and belief, BALBOA is a California Corporation with
12   its principal place of business in Orange County, California.
13         3.     On information and belief, CYNOSURE is a Massachusetts
14   Corporation with its principal place of business in Middlesex County,
15   Massachusetts.
16         4.     The true names and capacities, whether individual, corporate,
17   associate or otherwise, of the Counterdefendants named herein as ROES 1-10,
18   inclusive, are unknown to DEKALB and RIGAUD-ECHOLS, who therefore sue
19   said Counterdefendants by such fictitious names. DEKALB and RIGAUD-
20   ECHOLS will amend this Counterclaim to show their true names and capacities
21   when same have been ascertained.
22         5.     DEKALB and RIGAUD-ECHOLS are informed and believe, and
23   thereon allege that each of the fictitiously named Counterdefendants are liable to
24   DEKALB and RIGAULD-ECHOLS as herein alleged, and that DEKALB and
25   RIGAUD-ECHOLS’s rights against such fictitiously named Counterdefendants
26   arise from such liability.
27         6.     At all times herein, Counterdefendants were the agents, servants, and
28   employees of their Co-Counterdefendants and, in doing the things hereinafter
                                              8
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
            AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1    mentioned, were acting within the scope of their authority as such agents, servants,
2    and employees, with the permission and consent of their Co-Counterdefendants.
3                                  JURISDICTION AND VENUE
4              7.    This is a civil action over which this Court has original jurisdiction
5    under 28 U.S.C. section 1332 because it is between citizens of different states and
6    the matter in controversy exceeds the sum of seventy-five thousand dollars
7    ($75,000.00), exclusive of interest and costs. Complete diversity of citizenship
8    exists.
9              8.    This Court has personal jurisdiction over BALBOA as BALBOA
10   initiated litigation in this district against DEKALB and RIGAUD-ECHOLS
11   concerning the financing of the subject collateral, the purchase and value of which
12   are the subject of this counterclaim. The Court has personal jurisdiction over
13   CYNOSURE as, on information and belief, it does business extensively with
14   BALBOA in this district to secure financing for its customers in order to facilitate
15   the purchase of its medical equipment across the country, such as the subject
16   collateral in this case. Accordingly, CYNOSURE purposefully availed itself of the
17   jurisdiction of this court.
18             9.    Venue is proper in this judicial district because, upon information and
19   belief, BALBOA and CYNOSURE conduct substantial business directly and/or
20   through third parties or agents in this judicial district.
21                                 GENERAL ALLEGATIONS
22             10.   DEKALB is a full service medical practice offering services
23   including, but not limited to, general obstetrics, general gynecology, treatment for
24   infertility, preventative health and well woman care. RIGAUD-ECHOLS is a
25   medical doctor and sole member of DEKALB.
26             11.   On or about May 31, 2018, CYNOSURE representatives visited
27   DEKALB and made a presentation about the Mona Lisa Touch Laser System
28   (“Mona Lisa”), which its representatives (including Chris Cononi) touted as a
                                                  9
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
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1    medical device that could safely perform vaginal rejuvenation elective procedures
2    for patients. CYNOSURE, by and through its representatives, including Cononi,
3    further represented that the Mona Lisa Touch Laser System was safe for use in that
4    capacity, and that FDA approval for such usage was pending.
5          12.    Based upon those representations, DEKALB agreed to purchase a
6    Mona Lisa unit, and over the next couple of weeks, did so. To facilitate the
7    purchase, CYNOSURE directed DEKALB to BALBOA to arrange for financing.
8    It was apparent to DEKALB that CYNOSURE and BALBOA had a long standing
9    relationship on arranging for financing for the purchase of CYNOSURE’s medical
10   equipment, including the Mona Lisa. CYNOSURE knew that BALBOA was a
11   California-based lender and purposely availed itself of California in order to
12   arrange for DEKALB’s financing of the Mona Lisa. DEKALB is informed and
13   believes and thereon alleges that CYNOSURE was paid in full by BALBOA for
14   the purchase of the Mona Lisa in the amount of $157,140.00. A true and correct
15   copy of the invoice from CYNOSURE to DEKALB for this transaction is attached
16   hereto as Exhibit A.
17         13.    Following payment to CYNOSURE from BALBOA, and delivery to
18   DEKALB of the Mona Lisa, CYNOSURE sent a technician to open the box. No
19   training, however, was ever scheduled between CYNOSURE and DEKALB. In
20   fact, DEKALB never used the Mona Lisa that was delivered to the office.
21         14.    On July 30, 2018, the FDA issued a statement warning about risks
22   related to devices for use in medical procedures for vaginal rejuvenation. A true
23   and correct copy of the statement is attached as Exhibit B. The statement
24   specifically called out CYNOSURE as one of the device manufacturers for which
25   they had “concerns about inappropriate marketing of their devices for ‘vaginal
26   rejuvenation’ procedures.”
27         15.    Upon seeing this statement, DEKALB and RIGAUD-ECHOLS were
28   understandably concerned about the viability of using the Mona Lisa since the very
                                              10
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
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1    purpose for which the Mona Lisa had been purchased in the first instance had been
2    frustrated. Moreover, the representation by CYNOSURE (by and through its
3    agents) of pending FDA approval was false. DEKALB, by and through RIGAUD-
4    ECHOLS, therefore immediately contacted CYNOSURE, on or about July 31,
5    2018, about returning the equipment and cancelling the transaction in light of this
6    information and the frustration of purpose of the transaction. RIGAUD-ECHOLS
7    was told that Chris Cononi was no longer working for CYNOSURE, and further
8    that both CYNOSURE and BALBOA refused to cancel the transaction.
9          16.    The Mona Lisa remained unused, with all of its component parts
10   wrapped in plastic and in the box in which it came. Finally, after requesting since
11   July 31, 2018 that CYNOSURE and/or BALBOA take back the equipment, on
12   February 26, 2019, an individual representing himself as being with Great Lakes
13   Asset Solutions came unannounced to the DEKALB office to repossess the Mona
14   Lisa. At the time of the repossession, the Mona Lisa remained unused.
15                                 CLAIMS FOR RELIEF
16                                         COUNT I
17                              (Setoff as Against BALBOA)
18         17.     DEKALB and RIGAUD-ECHOLS incorporate and reallege by
19   reference each and every paragraph herein as if set forth in full in this count.
20         18.    DEKALB and RIGAUD-ECHOLS deny that they owe any
21   indebtedness to BALBOA based upon the frustration of purpose of the underlying
22   transaction in light of the usability and safety issues that arising concerning the
23   Mona Lisa device, as well as the misrepresentations set forth more fully above.
24         19.    In the alternative, however, if an indebtedness is found to be due and
25   owing from DEKALB and/or RIGAUD-ECHOLS to BALBOA, then that
26   indebtedness should be eliminated or substantially reduced based upon the
27   repossession of the Mona Lisa device on February 26, 2019 by Great Lakes Asset
28   Solutions, BALBOA and/or CYNOSURE’s agent.
                                               11
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
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1                                         COUNT II
2        (Intentional Misrepresentation/Concealment as Against CYNOSURE)
3          20.    DEKALB and RIGAUD-ECHOLS incorporate and reallege by
4    reference each and every paragraph herein as if set forth in full in this count.
5          21.    On or about May 31, 2018, CYNOSURE, by and through its agents,
6    employees, and representatives, including, but not limited to, Chris Cononi,
7    represented to DEKALB and RIGUAD-ECHOLS that the Mona Lisa device was
8    appropriate and safe for elective vaginal rejuvenation procedures, and that approval
9    of the device was pending with the FDA.
10         22.    Those representations were, however, false. The actual facts were
11   that the Mona Lisa was not safe for the intended elective procedures, and that FDA
12   approval was not pending. Rather, on July 30, 2018, the FDA issued a statement
13   warning about risks related to devices for use in medical procedures for vaginal
14   rejuvenation and specifically called out CYNOSURE as one of the device
15   manufacturers for which they had “concerns about inappropriate marketing of their
16   devices for ‘vaginal rejuvenation’ procedures.”
17         23.    CYNOSURE knew that the representations were either false or made
18   recklessly and without regard for their truth that FDA approval was not pending
19   and that the device was not safe for the anticipated usage by DEKALB.
20         24.    CYNOSURE, by and through its representative, intended that
21   DEKALB and RIGAUD-ECHOLS rely upon those representations so that
22   CYNOSURE could make a sale of the Mona Lisa device to DEKALB.
23         25.    DEKALB and RIGAUD-ECHOLS reasonably relied upon
24   CYNOSURE’s representations and proceeded to purchase a Mona Lisa device for
25   $157,140.00, financing for which CYNOSURE arranged through BALBOA.
26         26.    DEKALB and RIGAUD-ECHOLS have returned the Mona Lisa
27   device to CYNOSURE and/or BALBOA, by and though its agent, Great Lake
28   Asset Solutions, on February 26, 2019. Yet BALBOA continues to seek the
                                               12
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
            AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
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1    entirety of the cost of the device, plus interest and fees from DEKALB and
2    RIGAUD-ECHOLS. This was notwithstanding that DEKALB and RIGAUD-
3    ECHOLS demanded, beginning on July 31, 2018, that BALBOA and/or
4    CYNOSURE accept the return of the Mona Lisa device. For unexplained reasons,
5    they did not finally take back the Mona Lisa device for an additional six months.
6    As such, DEKALB and RIGAUD-ECHOLS have been damaged in an amount to
7    be determined at trial, but not less than the amount currently sought from
8    BALBOA ($193,685.99).
9          27.    The conduct by CYNOSURE was fraudulent, and done with the intent
10   to deceive DEKALB and RIGAUD-ECHOLS into purchasing a Mona Lisa device,
11   which subjects CYNOSURE to punitive and exemplary damages.
12                                        COUNT III
13                (Negligent Misrepresentation as Against CYNOSURE)
14         28.    DEKALB and RIGAUD-ECHOLS incorporate and reallege by
15   reference each and every paragraph herein as if set forth in full in this count.
16         29.    On or about May 31, 2018, CYNOSURE, by and through its agents,
17   employees, and representatives, including, but not limited to, Chris Cononi,
18   represented to DEKALB and RIGUAD-ECHOLS that the Mona Lisa device was
19   appropriate and safe for elective vaginal rejuvenation procedures and that approval
20   of the device was pending with the FDA.
21         30.    Those representations were, however, false. The actual facts were
22   that the Mona Lisa was not safe for the intended elective procedures, and that FDA
23   approval was not pending. Rather, on July 30, 2018, the FDA issued a statement
24   warning about risks related to devices for use in medical procedures for vaginal
25   rejuvenation and specifically called out CYNOSURE as one of the device
26   manufacturers for which they had “concerns about inappropriate marketing of their
27   devices for ‘vaginal rejuvenation’ procedures.”
28         31.    At the time CYNOSURE, by and through its representatives including
                                               13
      ANSWER AND COUNTERCLAIMS BY DEFENDANTS DEKALB OB/GYN
            AFFILIATES L.L.C. AND SHIRLEY RIGAUD-ECHOLS
     Case 8:19-cv-00482-AG-KES      Document 7 Filed 03/18/19       Page 14 of 17 Page ID
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1    Chris Cononi made those representations, it had no reasonable grounds for
2    believing the representation was true.
3          32.    CYNOSURE intended that DEKALB and RIGAUD-ECHOLS rely
4    upon these representations in order to consummate a sale of the Mona Lisa device.
5          33.    DEKALB and RIGAUD-ECHOLS reasonably relied upon
6    CYNOSURE’s representations and proceeded to purchase a Mona Lisa device for
7    $157,140.00, financing for which CYNOSURE arranged through BALBOA.
8          34.    DEKALB and RIGAUD-ECHOLS have returned the Mona Lisa
9    device to CYNOSURE and/or BALBOA, by and though its agent, Great Lake
10   Asset Solutions, on February 26, 2019. Yet BALBOA continues to seek the
11   entirety of the cost of the device, plus interest and fees from DEKALB and
12   RIGAUD-ECHOLS. This was notwithstanding that DEKALB and RIGAUD-
13   ECHOLS demanded, beginning on July 31, 2018, that BALBOA and/or
14   CYNOSURE accept the return of the Mona Lisa device. For unexplained reasons,
15   they did not finally take back the Mona Lisa device for an additional six months.
16   As such, DEKALB and RIGAUD-ECHOLS have been damaged in an amount to
17   be determined at trial, but not less than the amount currently sought from
18   BALBOA ($193,685.99).
19                                PRAYER FOR RELIEF
20         Wherefore, DEKALB and RIGAUD-ECHOLS pray that this Court enter
21   judgment in their favor on the claims for relief set forth above including, but not
22   limited to, the following:
23         1.     Declaration of setoff such that nothing remains due and owing from
24   DEKALB and/or RIGAUD-ECHOLS to BALBOA, or alternatively, that the
25   amount of indebtedness, if any, be substantially reduced in light of the return of the
26   unused Mona Lisa device;
27         2.     Damages against CYNOSURE in amount to be determined, but at
28   least $193,685.99 (the amount currently sought against them by BALBOA);
                                              14
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1          3.     Punitive damages against CYNOSURE;
2          4.     Costs, expenses, pre-judgment and post-judgment interest, as
3    appropriate against CYNOSURE; and
4          5.     Such other and further relief as this Court may deem just and proper.
5                                    JURY DEMAND
6          In accordance with Federal Rules of Civil Procedure 38 and 39, Defendants
7    DEKALB OB/GYN AFFILIATES L.L.C. and SHIRLEY RIGAUD-ECHOLS
8    hereby demand a trial by jury on all issues embodied in Plaintiff’s complaint, as
9    well as their answer and counterclaims.
10

11                                          Respectfully submitted,
12   Dated: March 18, 2019                  SCHIFFER & BUUS, APC
13                                           /s/ Eric M. Schiffer .
                                            By: Eric M. Schiffer
14                                               William L. Buus
                                            Attorneys for Defendants/Counterclaimants
15                                          DEKALB OB/GYN AFFILIATES L.L.C.
                                            and SHIRLEY RIGAUD-ECHOLS
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1                                 PROOF OF SERVICE
2          I am employed in the County of Orange, State of California. I am over the
3    age of eighteen (18) years and am not a party to the within action. My business
4    address is that of 959 South Coast Drive, Suite 385 Costa Mesa, California 92626.
5          I hereby certify that on March 18, 2019, I electronically filed the foregoing
6    ANSWER AND COUNTERCLAIMS BY DEKALB OB/GYN AFFILIATES
7    L.L.C. and SHIRLEY RIGAUD-ECHOLS with the Clerk of the Court using
8    ECF which will send notification and a copy of such filing to the following
9    persons:
10

11                             See Attached Service List
12

13         Executed on March 18, 2019, at Costa Mesa, California.
14         I declare under penalty of perjury under the laws of the United States of
15   America that the foregoing is true and correct.
16
                                             /s/ Eric M. Schiffer
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1                                  SERVICE LIST
2

3    Michelle A. Chiongson
     Marisa D. Poulos
4    BALBOA CAPITAL CORPORATION
     575 Anton Blvd., 12th Floor
5    Costa Mesa, California 92626
     Tel: (949) 399-6303
6
     michelleac@balboacapital.com
7    marisa.poulos@balboacapital.com
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